Case 6:17-cv-01423-GAP-LRH Document 14 Filed 08/28/17 Page 1 of 4 PageID 52




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

  WILLINE BRYANT and MAX GRACIA, SR., as
  Co-Personal Representatives of the Estate of
  MAX GRACIA, JR., II,
                              Case No. 6:17-CV-1423-ORL-31-KRS
        Plaintiffs
  vs.

  ORANGE COUNTY, FLORIDA, ROBERT J.
  BUCK, III, MARY ANNE EVANS, KAREN
  CLAIRMONT, ELSA GALLOZA-GONZALEZ
  and LYNN MARIE HARTER,

        Defendants.
  _______________________________________________/

      DEFENDANT, KAREN CLAIRMONT’S ANSWER AND AFFIRMATIVE
               DEFENSES TO PLAINTIFFS’ COMPLAINT

         Defendant, Karen Clairmont, by and through his undersigned counsel, for answer

  to Plaintiffs’ Complaint admits that Plaintiffs’ Decedent, Max Gracia, Jr., II, died on

  August 10, 2015 while an inmate at the Orange County Jail having been incarcerated in

  the Orange County Jail since August 6, 2015 after having been arrested by the Orange

  County Sheriff’s Office on multiple felony charges and after having been bitten a

  Sheriff’s Deputy canine in an effort to capture Mr. Gracia after he had robbed a

  convenience store at gun point. This Defendant further admits that from August 6 to

  August 10, 2015, she was a registered nurse employed by Orange County to work in its

  jail as a licensed registered nurse and during that time, while on shift, was responsible for

  providing nursing care to inmates in the infirmary area where she worked to include

  Plaintiffs’ Decedent, Max Gracia, Jr., II and that at all times material thereto, Defendant,




                                               1
Case 6:17-cv-01423-GAP-LRH Document 14 Filed 08/28/17 Page 2 of 4 PageID 53




  Karen Clairmont, was acting under the color of state law in the course and scope of her

  employment with Orange County.

          Defendant, Karen Clairmont, denies the remaining allegations of Plaintiffs’

  Complaint including Counts I, II, III, V, VI and VII as they do not state claims against

  her, individually, and specifically denies the claims in Count IV of Plaintiffs’ Complaint

  that she had, at any time, acted with deliberate indifference to the health and safety of the

  Decedent, Max Gracia, Jr., II or with deliberate indifference to his medical needs or that

  any actions or lack of action she took led to the death of Max Gracia, Jr., II or deprived

  him of his civil rights.

                                  AFFIRMATIVE DEFENSES

          1.      Plaintiffs’ Decedent, Max Gracia, Jr., II’s death was as a result of causes

  unrelated to any septic condition as a result of his dog bites and therefore, is not related to

  any action or inaction by Defendant, Karen Clairmont.

          2.      At no time, did Defendant, Karen Clairmont act with deliberate indifference

  as to Plaintiffs’ Decedent, Max Gracia, Jr., II.

          3.      The actions of Defendant, Karen Clairmont, were reasonable and appropriate

  under the circumstances and said Defendant is entitled to qualified immunity.

          4.      Plaintiffs’ Decedent, Max Gracia, Jr., II failed to mitigate his damages by

  refusing to take medications that otherwise affected his immunity system to be able to

  withstand results of any infection or sepsis occurring from bites inflicted by an Orange

  County Sheriff’s canine.




                                                     2
Case 6:17-cv-01423-GAP-LRH Document 14 Filed 08/28/17 Page 3 of 4 PageID 54




         5.      Defendant, Karen Clairmont, reserves the right to supplement this Answer

  with additional Affirmative Defenses pending the outcome of discovery in this matter

                                  DEMAND FOR JURY TRIAL

         Defendant Karen Clairmont, hereby requests a trial by jury on all issues and

     questions so triable.



                             s/ Walter A. Ketcham, Jr.
                             Walter A. Ketcham, Jr., Esquire
                             Florida Bar No. 156630
                             Brian F. Moes, Esquire
                             Florida Bar No. 39403
                             Grower, Ketcham, Eide, Telan & Meltz, P.A.
                             PO Box 538065
                             Orlando, FL 32853-8065
                             Phone:        (407) 423-9545
                             Fax: (407) 425-7104
                             Primary E-mail:waketcham@growerketcham.com
                             1st Secondary E-mail: enotice@growerketcham.com
                             2nd Secondary E-mail: lsase@growerketcham.com
                             Counsel for Defendant, Karen Clairmont




                                              3
Case 6:17-cv-01423-GAP-LRH Document 14 Filed 08/28/17 Page 4 of 4 PageID 55




                                   CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on the 28th day of August, 2017, I electronically filed

  the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

  notice of electronic filing to all counsel of record.



                            s/ Walter A. Ketcham, Jr.
                            Walter A. Ketcham, Jr., Esquire
                            Florida Bar No. 156630
                            Brian F. Moes, Esquire
                            Florida Bar No. 39403
                            Grower, Ketcham, Eide, Telan & Meltz, P.A.
                            PO Box 538065
                            Orlando, FL 32853-8065
                            Phone:        (407) 423-9545
                            Fax: (407) 425-7104
                            Primary E-mail:waketcham@growerketcham.com
                            1st Secondary E-mail: enotice@growerketcham.com
                            2nd Secondary E-mail: lsase@growerketcham.com
                            Counsel for Defendant, Karen Clairmont




                                                  4
